                                                                                             Case 2:22-cv-00612-CDS-EJY Document 592 Filed 10/23/23 Page 1 of 4



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                                                                                     and BJ Holdings LLC
                                                                                  15

                                                                                  16                          IN THE UNITED STATES DISTRICT COURT

                                                                                  17                              FOR THE DISTRICT OF NEVADA

                                                                                  18 SECURITIES AND EXCHANGE                              CASE NO. 2:22-cv-00612-CDS-EJY
                                                                                     COMMISSION,
                                                                                  19                   Plaintiff
                                                                                                vs.                                          STIPULATION AND ORDER
                                                                                  20
                                                                                                                                          AUTHORIZING RELEASE OF FUNDS
                                                                                  21 MATTHEW WADE BEASLEY; et al.,                                TO RECEIVER
                                                                                                    Defendants
                                                                                  22

                                                                                  23 THE JUDD IRREVOCABLE TRUST, et al.,

                                                                                  24                           Relief Defendants

                                                                                  25

                                                                                  26           The following Stipulation and [Proposed] Order Authorizing Release of Funds to the
                                                                                  27 Receiver (the “Stipulation”) is entered into by and between: 1) Geoff Winkler, the Court-appointed

                                                                                  28 receiver in the above-entitled action (the “Receiver”); 2) Plaintiff Securities and Exchange

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                                                                                       ACTIVE 690988741v3
                                                                                             Case 2:22-cv-00612-CDS-EJY Document 592 Filed 10/23/23 Page 2 of 4



                                                                                   1 Commission (“SEC”); and 3) Defendant Christopher Madsen (“Madsen”) (collectively, the

                                                                                   2 “Parties”), by and through their respective representatives, and with respect to the following facts:

                                                                                   3           1.      At the outset of this case, the SEC moved, ex parte, for the Entry of a Temporary

                                                                                   4 Restraining Order and Orders: (1) Freezing Assets; (2) Requiring Accountings; (3) Prohibiting the

                                                                                   5 Destruction of Documents; (4) Granting Expedited Discovery; and (5) Order to Show Cause

                                                                                   6 Re: Preliminary Injunction (the “TRO Application”) (ECF No. 2) and a TRO was thereafter issued

                                                                                   7 (ECF No. 3).

                                                                                   8           2.      The terms of the TRO were later affirmed via this Court’s entry of the Preliminary

                                                                                   9 Injunction. (ECF No. 56).
                                                                                  10           3.      The Receiver was appointed on June 3, 2022 pursuant to this Court’s Order

                                                                                  11 Appointing Receiver (ECF No. 88) which was amended on July 28, 2022 (ECF 207) (collectively,
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                                                                                  12 the “Appointment Order”).

                                                                                  13           4.      On June 29, 2022, the SEC filed its Amended Complaint in the above-entitled action
GREENBERG TRAURIG, LLP




                                                                                  14 (ECF No. 118).

                                                                                  15           5.      On June 29, 2022, the SEC filed a motion to amend the Preliminary Injunction Order
                                                                                  16 to extend the existing preliminary injunction and asset freeze to those Defendants added in the

                                                                                  17 Amended Complaint, which Defendants included Chris Madsen (ECF No. 119). The motion was

                                                                                  18 granted, and an Amended Preliminary Injunction Order issued by the Court on July 28, 2022

                                                                                  19 (ECF No. 206)(“Preliminary Injunction Order”).

                                                                                  20           6.      As a result of the Preliminary Injunction Order, certain assets of Defendants were
                                                                                  21 frozen including Madsen’s accounts held by Boulder Dam Credit Union.

                                                                                  22           7.      On August 23, 2022, the Commission, the Receiver, and Madsen stipulated that “[t]he
                                                                                  23 Boulder Dam Credit Union Account ending in 2001 (the “Boulder Dam Checking Account”) held

                                                                                  24 in the name of Christopher Madsen could be unfrozen to allow Defendant Madsen to pay living

                                                                                  25 expenses and hold going-forward, earned income unconnected to the conduct alleged in the

                                                                                  26 Complaint” (ECF No. 271).

                                                                                  27           8.      Through this Stipulation, the Parties, and each of them, hereby stipulate, agree, and
                                                                                  28 consent to the release of all funds held in the Boulder Dam Credit Union associated with account

                                                                                                                                         2
                                                                                       ACTIVE 690988741v3
                                                                                             Case 2:22-cv-00612-CDS-EJY Document 592 Filed 10/23/23 Page 3 of 4



                                                                                   1 number ending in 7003 and account number 2001-01 (“the Accounts”), to allow such funds to be

                                                                                   2 wired to an account established by the Receiver.

                                                                                   3           ACCORDINGLY, IT IS HEREBY STIPULATED AND AGREED by and between the
                                                                                   4 undersigned that:

                                                                                   5           A.      The funds held in the Accounts shall be released pursuant to the terms of this
                                                                                   6 Stipulation;

                                                                                   7           B.      All balances held in the Accounts as of this date, shall be wired to the account
                                                                                   8 established by the Receiver ending in 0381 pursuant to instructions to be provided by the Receiver.

                                                                                   9   DATED this 19th day of October 2023              DATED this 19th day of October 2023
                                                                                  10   GREENBERG TRAURIG, LLP                           SECURITIES & EXCHANGE
                                                                                                                                        COMMISSION
                                                                                  11
                  10845 Griffith Peak Drive, Suite 600, Las Vegas, Nevada 89135




                                                                                       /s/ Kara B. Hendricks                                /s/ Casey R. Fronk
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                                                                                       KARA B. HENDRICKS, ESQ.                          CASEY R. FRONK, ESQ.
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                                                                                       J&J Consulting Services, Inc., J&J               Securities & Exchange Commission
                                                                                  17   Consulting Services, Inc., J and J
                                                                                       Purchasing LLC, The Judd Irrevocable
                                                                                  18   Trust, and BJ Holdings LLC
                                                                                  19

                                                                                  20    DATED this 19th day of October 2023
                                                                                  21    PRYOR CASHMAN, LLP

                                                                                  22    /s/ John Giardino
                                                                                  23    JOHN GIARDINO, ESQ.*
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                                                                                  28   Attorneys for Christopher Madsen

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                                                                                       ACTIVE 690988741v3
                                                                                             Case 2:22-cv-00612-CDS-EJY Document 592 Filed 10/23/23 Page 4 of 4



                                                                                   1           IT IS HEREBY ORDERED that:

                                                                                   2           A.      The funds held in the Accounts shall be released pursuant to the terms of the

                                                                                   3 Stipulation;

                                                                                   4           B.      All balances held in the Accounts as of this date, shall be wired to the account

                                                                                   5 established by the Receiver ending in 0381 pursuant to instructions to be provided by the Receiver.

                                                                                   6

                                                                                   7                                                  HON. CRISTINA D. SILVA
                                                                                                                                      Judge, United States District Court
                                                                                   8
                                                                                                                                      Date:       October 23, 2023
                                                                                   9
                                                                                  10

                                                                                  11
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GREENBERG TRAURIG, LLP




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